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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 ORDER ESTABLISHING TRIAL DOCKET FOR THE MONTHS OF NOVEMBER AND
       DECEMBER, 2009, BEFORE THE HONORABLE PATRICK J. DUGGAN*

Listed below are the cases on this Court's trial docket for the months of November and
December, 2009. Counsel will be notified when their case reaches No. 5. After such
notice, counsel should be prepared to begin trial any time on 48 hours notice. It is
counsel's responsibility in all cases after they have been so notified to contact my clerk,
Marilyn Orem, at 234-5147, to ascertain the status of the trial docket. Unless otherwise
notified, this Court commences trial at 8:45 a.m. PLEASE BE PROMPT!

1. 09-10525 TRUSTEES OF THE BRICKLAYERS PENSION TRUST FUND, ET.AL V.
           DESANTIS CONSTRUCTION CO.
2. 09-10832 ARNOLD V. CITIZENS FIRST BANCORP
3. 09-10347 HASSAN V. AUTOMATIC DATA PROCESSING
4. 09-11282 DANIEL V. ALLSTATE INSURANCE CO.
5. 07-10805 HUMPHRIES V. OAKLAND COUNTY ROAD COMMISSION
6. 08-14467 FLANAGAN V. STEWART, ET.AL
7. 08-14291 MILLS V. RODABAUGH, ET.AL
   09-10921
8. 08-14886 PENNSYLVANIA LIFE INSURANCE CO. V. CITY OF RIVER ROUGE
9. 09-11691 CLEVELAND V. QUEST DIAGNOSTICS



                           s/Patrick J. Duggan
                           Patrick J. Duggan
                           United States District Judge

Dated: October 1, 2009

I hereby certify that a copy of the foregoing document was served upon counsel of record
on October 1, 2009, by electronic and/or ordinary mail.

                           s/Marilyn Orem
                           Case Manager

*PLEASE TAKE NOTICE THAT TRIAL WILL NOT BEGIN BEFORE THE FINAL
PRETRIAL CONFERENCE DATE.

IF THERE IS A MOTION FOR SUMMARY JUDGMENT PENDING, FINAL PRETRIAL
CONFERENCE WILL BE RESCHEDULED APPROXIMATELY 10 DAYS AFTER ANY
DECISION ON SUCH MOTION.
